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 1 ZEV SHECHTMAN (State Bar No. 266280)
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 2 ALPHAMORLAI L. KEBEH (State Bar No. 336798)
   akebeh@DanningGill.com
 3 DANNING, GILL, ISRAEL & KRASNOFF, LLP
   1901 Avenue of the Stars, Suite 450
 4 Los Angeles, California 90067-6006
   Telephone: (310) 277-0077
 5 Facsimile: (310) 277-5735

 6 General Bankruptcy Counsel for Jinzheng Group
   (USA) LLC, Debtor and Debtor in Possession
 7
                          UNITED STATES BANKRUPTCY COURT
 8
                            CENTRAL DISTRICT OF CALIFORNIA
 9
                                    LOS ANGELES DIVISION
10
   In re                                         Case No. 2:21-bk-16674-ER
11
   JINZHENG GROUP (USA) LLC,                     Chapter 11
12
                Debtor and Debtor in             DEBTOR’S NOTICE OF OPPOSITION
13              Possession.                      AND OPPOSITION TO MOTION FOR
                                                 RELIEF FROM STAY FILED BY
14                                               CORONA CAPITAL GROUP, LLC;
                                                 MEMORANDUM OF POINTS AND
15                                               AUTHORITIES AND DECLARATION OF
                                                 ZEV SHECHTMAN
16
                                                 Date:    August 22, 2022
17                                               Time:    10:00 a.m.
                                                 Crtrm.: 1568
18                                                        255 East Temple Street
                                                          Los Angeles, CA 90012
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 1            TO THE HONORABLE ERNEST M. ROBLES AND INTERESTED PARTIES:

 2

 3            PLEASE TAKE NOTICE THAT Debtor and Debtor in Possession, Jinzheng Group (USA),

 4 LLC (the “Debtor”) hereby opposes the motion for relief from stay (doc. no. 320) (the “Motion”)

 5 filed by Corona Capital Group, LLC (“Corona” or “Movant”).

 6

 7            Any reply must be filed and served not later than 7 days before the hearing on the Motion.

 8

 9 DATED: August 8, 2022                        DANNING, GILL, ISRAEL & KRASNOFF, LLP
10

11
                                                By:
12                                                    ZEV SHECHTMAN
                                                      General Bankruptcy Counsel for Jinzheng Group
13                                                    (USA) LLC, Debtor and Debtor in Possession
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2

 3                                                      I.

 4                                             INTRODUCTION

 5            The Debtor has negotiated a Carveout Agreement with the third lienholder which will make

 6 it feasible for the Debtor to sell the Property in the near term. All parties will benefit from such a

 7 sale. Relief from stay is not appropriate or necessary because there is now equity generated by the

 8 Carveout Agreement and the sale of the Property by the Debtor will be beneficial to the estate and

 9 creditors, including Movant who will be paid on account of its claim sooner from proceeds of a sale
10 by Debtor under section 363 of the Bankruptcy Code than it would in a foreclosure.

11

12                                                     II.

13                                       FACTUAL BACKGROUND

14            On August 24, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for relief

15 under chapter 11 of the Bankruptcy Code. The assets of the bankruptcy estate include a number of

16 real properties, including a parcel of real property located at 2240 Lorain Road, San Marino,

17 California 91108 (the “Property”).

18            There are three consensual liens on the Property. The holders of those liens are Royal

19 Business Bank (“RBB”), in first position; Corona, in second position; and DNQ LLC (“DNQ”), in
20 third position.

21            Corona filed the Motion, seeking relief from the automatic stay. According to the Motion,

22 Corona was owed $580,924 as of July 18, 2022 on account of its secured claim.1 Pursuant to the

23 Motion, RBB is owed $1,096,772 and DNQ is owed $530,465. The total debt on the Property is

24 $2,220,064. The combined debt of the first and second liens is $1,677,696. The Property’s value

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     1
     While the Debtor reserves the right to challenge the amounts of claims and other values alleged
27
   by Movant, the Debtor will accept Movant’s assertions of the amounts and other dollar amounts set
28 forth in the Motion, for purposes of responding to this Motion on the merits of section 362(d).

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 1 is $2,070,000 as established by the Debtor’s previous attempt to short sell the Property. Corona

 2 also supplies a declaration from a broker stating that the Property is worth $2,045,000.

 3            The Debtor attempted to short sell the Property for $2,070,000. The Debtor attempted to

 4 gain DNQ’s approval of that short sale, but was unsuccessful. The Debtor terminated the listing

 5 agreement with its former broker who was attempting the short sale and has engaged a new broker

 6 effective July 1, 2022. Thus, the transaction involving the former broker is no longer pending. The

 7 current list price of $2,300,000, although higher than the fair market value asserted in the Motion,

 8 was around the minimum sale price necessary absent the consent of lienholders to a sale for a price

 9 below the debt secured by the Property.
10            Recognizing that an agreement would be necessary to avoid foreclosure by senior

11 lienholders, the Debtor (through its current counsel) commenced renewed discussions with DNQ as

12 of around June 10, 2022.2 The sale of the Property by the Debtor would be unlikely absent the

13 consent of the third lienholder to sell the Property for an amount less than the total value of the

14 liens against the Property. Accordingly, the Debtor sought a carveout agreement from DNQ. After

15 extensive negotiations, on August 6, 2022, the Debtor and DNQ entered into the Carveout

16 Agreement Subject to Court Approval (the “Carveout Agreement”) attached to the Declaration of

17 Zev Shechtman as Exhibit “1.” The material terms of the Carveout Agreement include:

18            3.      Consent to Sale. Subject to Court approval and compliance with the terms of
              this Agreement, DNQ consents to the sale of the Property free and clear of any lien,
19            right, or claim it may have with respect to the Property, including, but not limited to
              the DNQ Lien. DNQ will not object to the sale of the Property, regardless of the
20            sale price. DNQ will cooperate with the Debtor in closing a sale and will execute
              such documents as necessary to release its lien on the Property and allow the
21            transfer of title to the Property to a new owner. Any order approving the sale of the
              Property shall be free and clear of the DNQ Lien even if DNQ breaches this
22            Agreement by later objecting to the sale or failing to cooperate with the sale.

23            4.       Sale of the Property. The Debtor agrees to market the Property for sale
              through the Brokers and invite overbids to any offers received. The Debtor agrees to
24            sell the Property to a buyer subject to Court approval under section 363 of the
              Bankruptcy Code. If the Debtor sells the Property, the Debtor shall receive 25% of
25            the net sale proceeds (the “Carveout Amount”), to the extent available, after
              payment of the first and second liens, any other liens senior to DNQ’s, any property
26            tax liabilities, any other escrow or closing costs and brokers’ commissions (the “Net
              Sale Proceeds”). The DNQ Lien shall attach to the Net Sale Proceeds remaining
27
     2
28       Current counsel was employed effective as of May 31, 2022.

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 1            after the Carveout Amount up to an amount of $420,000. DNQ shall be entitled to a
              distribution of such amount, if any, within forty five (45) days following the closing
 2            of the sale of the Property (the “DNQ Distribution”). For purposes of the sale of the
              Property only, DNQ subordinates the DNQ Lien to the Debtor’s rights hereunder to
 3            aid in the expeditious sale of the Property.

 4 See Exhibit “1.

 5            The Debtor engaged with Committee Counsel on negotiation of the Carveout Agreement to

 6 ensure that it would be acceptable to the Committee. By the Carveout Agreement, DNQ has

 7 consented to the Debtor’s sale of the Property, and the Debtor will receive 25% of the net sale

 8 proceeds that would otherwise have been paid to DNQ. Now, the Debtor can sell the Property for

 9 less than the aggregate value of the liens pursuant to section 363(f). The first and second liens will
10 be paid in full from any sale on account of their secured claims, assuming a price at or around the

11 value asserted in the Motion, and the balance of the sale proceeds will be paid out pursuant to the

12 Carveout Agreement. The Debtor will be filing a motion for approval of the Carveout Agreement.

13 The Carveout Agreement will result in some proceeds to the estate, and it will also reduce

14 unsecured debt that would otherwise be added to the unsecured creditor body in the event of

15 foreclosure.

16            The Carveout Agreement authorizes the Debtor to reduce the listing price of the Property,

17 so that the Debtor will be able to sell the Property for its fair market value, subject to overbidding,

18 even if the current list price proves high.

19
20                                                     III.

21                                          LEGAL DISCUSSION

22 A.         Movant is Adequately Protected Pursuant to 11 U.S.C § 362(d)(1)

23            Corona asserts that relief from stay should be granted because the Debtor has not supplied

24 proof of insurance on the Property. The Property is insured and the Debtor will supply proof of

25 insurance on the Property to Corona prior to the hearing on the Motion.

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 1 B.         Movant is Not Entitled to Relief from Stay Under 11 U.S.C. § 362(d)(2)(A) and (B) as a

 2            Result of the Carveout Agreement

 3            Under 11 U.S.C. § 362(d)(2), the moving party is entitled to relief from stay against

 4 property of the debtor if the debtor does not have equity in the property and the property is not

 5 necessary to an effective reorganization. Neither of these factors is satisfied as a result of the

 6 Carveout Agreement.

 7

 8            1.       There is Equity in the Property for the Benefit of the Estate and Creditors

 9            Equity is the amount that can be realized from the sale for the benefit of unsecured
10 creditors. In re Mellor, 734 F.2d 1396, 1400 (9th Cir. 1984). Now that the Debtor has negotiated a

11 binding Carveout Agreement with DNQ, the Debtor will be able to realize value to the estate and

12 creditors above the other secured debt. Even if the Debtor sells the Property for less than the value

13 estimated by Corona, there will be equity for the benefit of creditors. For example, if the Debtor

14 sells the Property for $2,000,000, the Debtor estimates that distributions from such sale will be as

15 follows:

16             Hypothetical Sale Price                                 $   2,000,000.00

17             RBB (1st)                                               $ (1,096,772.00)
18             Corona (2nd)                                            $    (580,924.00)
19             5% Brokers' Commission                                  $    (100,000.00)
20             2% Escrow / Costs of Sale (estimated)                   $     (40,000.00)
21             Net Sale Proceeds                                       $     182,304.00
22             Estate's 25% Share of Sale Proceeds                     $       45,576.00
23

24            The benefit to the estate of such a sale is greater than the cash component estimated at
25 $45,576.00, because it will reduce the amount of unsecured debt owed by the Debtor. That is

26 because, if Corona forecloses, DNQ will receive nothing on account of its secured claim and the
27 entire amount owed to DNQ will be added to the unsecured creditor body.

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 1            2.       The Property is Necessary to an Effective Reorganization or Liquidating Plan

 2            Liquidation in chapter 11 may be an “effective reorganization” for purposes of section

 3 362(d)(2)(B), since liquidation is a legitimate chapter 11 purpose. See In re EM Lodgings, LLC,

 4 580 B.R. 803, 813–14 (Bankr. C.D. Ill. 2018) (collecting cases). To satisfy its burden in the event

 5 of liquidation, the Debtor should show that it is making progress toward an effective liquidation.

 6 Id. at 814.

 7            Within the last 60 days, the Debtor has taken decisive action to list all of its real properties

 8 for a sale, as part of its global liquidation strategy. See applications to employ brokers at docket

 9 nos. 298 (15 parcels comprising over 30 acres in Lincoln Heights), 304 (Van Nuys condominium),
10 307 (the subject Property), and 325 (Arcadia).3 The Carveout Agreement negotiated with DNQ

11 and this opposition is in furtherance of the same liquidation strategy. Once the Debtor has made

12 substantial progress in the sale of its properties, the Debtor will either file a liquidating plan or

13 pursue structured dismissal. These efforts are made with the intended effect of moving this case

14 toward a reasonable resolution in the near term.

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     The Debtor previously filed a motion to approve a settlement involving a transfer of the Arcadia
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   property from a nondebtor LLC back to the Debtor, in order to prevent a foreclosure and preserve
28 that asset for the benefit of the estate. See doc. no. 278.

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 1                                                     IV.

 2                                              CONCLUSION

 3            As a result of the Carveout Agreement, the Debtor is equipped to sell the Property for its

 4 fair market value. The estate, Movant, and all other creditors will be better off if the Debtor sells

 5 the Property. For these reasons and those set forth above, the Debtor respectfully requests that the

 6 Court deny the Motion, and enter such other and further relief that is just and proper in the

 7 circumstances.

 8

 9 DATED: August 8, 2022                         DANNING, GILL, ISRAEL & KRASNOFF, LLP
10

11
                                                 By:
12                                                     ZEV SHECHTMAN
                                                       General Bankruptcy Counsel for Jinzheng Group
13                                                     (USA) LLC, Debtor and Debtor in Possession
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 1                                 DECLARATION OF ZEV SHECHTMAN

 2            I, Zev Shechtman, declare as follows:

 3            1.       I am an attorney duly admitted to practice before this Court. I am the principal of a

 4 professional corporation that is a partner of Danning, Gill, Israel & Krasnoff, LLP, attorneys of

 5 record for Debtor and Debtor in Possession, Jinzheng Group (USA), LLC. I have personal

 6 knowledge of the facts set forth herein, and if called as a witness, I could and would competently

 7 testify thereto.

 8            2.       I make this declaration in support of Debtor’s Opposition to Motion for Relief From

 9 Stay Filed by Corona Capital Group, LLC.
10            3.       On August 24, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for

11 relief under chapter 11 of the Bankruptcy Code.

12            4.       The assets of the bankruptcy estate include, among other properties, a parcel of real

13 property located at 2240 Lorain Road, San Marino, California 91108 (the “Property”).

14            5.       The Debtor attempted to short sell the Property for $2,070,000. The Debtor

15 attempted to gain the approval of third lien holder DNQ, LLC (“DNQ”) for that short sale but was

16 unsuccessful. The Debtor terminated the listing agreement with its former broker who was

17 attempting the short sale and has engaged a new broker effective July 1, 2022. Thus, the

18 transaction involving the former broker is no longer pending.

19            6.       My firm was engaged by the Debtor as general bankruptcy counsel on or about May
20 31, 2022. On behalf of the Debtor, I first contacted DNQ on or about June 10, 2022. The Debtor

21 recognized that the sale of the Property by the Debtor was unlikely absent the consent of DNQ, the

22 third lienholder, to sell the Property for an amount less than the total value of the liens against the

23 Property. Accordingly, the Debtor sought a carveout agreement with DNQ. On August 6, 2022,

24 the Debtor and DNQ entered into the Carveout Agreement Subject to Court Approval (the

25 “Carveout Agreement”) attached hereto as Exhibit “1.”

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 1            7.       I have been in regular communication with Committee Counsel regarding the

 2 negotiation of the Carveout Agreement to ensure that it would be acceptable to the Committee.

 3

 4            I declare under penalty of perjury under the laws of the United States of America that the

 5 foregoing is true and correct.

 6            Executed on this 8th day of August, 2022, at Los Angeles, California.

 7

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                                                        Zev Shechtman
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                         EXHIBIT "1"

                                                                            11
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is 1901
Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled (specify): DEBTOR’S NOTICE OF OPPOSITION AND
OPPOSITION TO MOTION FOR RELIEF FROM STAY FILED BY CORONA CAPITAL GROUP, LLC; MEMORANDUM
OF POINTS AND AUTHORITIES AND DECLARATION OF ZEV SHECHTMAN will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 August 8, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:



                                                                                         Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL:
On (date) August 8, 2022 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.



                                                                                         Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) August 8, 2022 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.



                                                                                         Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 August 8, 2022                           Patricia Morris                                      /s/ Patricia Morris
 Date                                     Printed Name                                         Signature




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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
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                                                 ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

     •    Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
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          om;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rhmfirm.c
          om
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     •    Allan D Sarver ADS@asarverlaw.com
     •    Zev Shechtman zshechtman@DanningGill.com,
          danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
     •    David Samuel Shevitz david@shevitzlawfirm.com,
          shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
     •    John N Tedford jtedford@DanningGill.com, danninggill@gmail.com;jtedford@ecf.courtdrive.com
     •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
     •    Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov




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2. SERVED BY U.S. MAIL

Debtor                                             The Honorable Ernest M. Robles                     DNQ LLC:
JINZHENG GROUP (USA) LLC                           U.S. Bankruptcy Court                              Jason D Wang,
1414 S Azusa Ave, Suite B-22                       Roybal Federal Building                            6145 W. Spring Mountain RD. #205
West Covina, CA 91791-4084                         Bin outside of Suite 1560                          Las Vegas NV 89146
                                                   255 E. Temple Street
                                                   Los Angeles, CA 90012

Unsecured Creditors Committee

Betula Lenta, Inc.                                 The Phalanx Group, Inc.                            Testa Capital Group
David Park                                         Anthony Rodriguez                                  620 Newport Center Dr., #1100
800 W. 6th Street, Suite 1250                      424 E. 15th Street, Unit #10                       Newport Beach, CA 92660
Los Angeles, CA 900171                             Los Angeles, CA 90015




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June 2012                                                                                     F 9013-3.1.PROOF.SERVICE
